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Pro Se 1 (Rev. 12/16) Complaint for a Civil Case

UNITED STATES DISTRICT COURT

for the
Middle District of Florida

Tampa__

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Ce sy
Plates)
(Write the fill name of each plaintiff who is filing this complaint.
If the names of all the plaintiffs cannot fit in the space above,
please write “see attached” in the space and attach an additional

page with the full list of names.)

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Kec taldiys Peaks ULC ofb/a

Defendant(s) ze fe* ¥: ik + dak
(Write the full name of each defendant Me is being sued. If the
names of all the defendants cannot fit in the space above, please
write “see attached” in the space and attach an additional page
with the full list of names.)

 

Division

Case No.

jeg aha
Piha

 

   

B.racv 458 wWF7- AER

(to be filled in by the Clerk's Office)

 

Jury Trial: (cheek one) [| Yes [No

COMPLAINT FOR A CIVIL CASE

I. The Parties to This Complaint
A. The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach additional pages if

needed.
Name

Street Address 262 sil ce

casey Les fail

mes

 

City and County
State and Zip Code

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Telephone Number

E-mail Address

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B. The Defendant(s)

Provide the information below for each defendant named in the complaint, whether the defendant is an
individual, a government agency, an organization, or a corporation. For an individual defendant,
include the person's job or title (/known). Attach additional pages if needed.

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Defendant No. |
Name
Job or Title (ifknown)
Street Address
City and County
State and Zip Code
Telephone Number

E-mail Address (i/known)

Defendant No. 2
Name
Job or Title (if known)
Street Address
City and County
State and Zip Code
Telephone Number

E-mail Address (if known)

Defendant No. 3
Name
Job or Title (if known)
Street Address
City and County
State and Zip Code
Telephone Number

E-mail Address (if known)

Defendant No. 4
Name
Job or Title (if known)
Street Address
City and County
State and Zip Code
Telephone Number
E-mail Address (if known)

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Il.

Basis for Jurisdiction

Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of cases can be
heard in federal court: cases involving a federal question and cases involving diversity of citizenship of the
parties. Under 28 U.S.C. § 1331, a case arising under the United States Constitution or federal laws or treaties
is a federal question case. Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of
another State or nation and the amount at stake is more than $75,000 is a diversity of citizenship case. Ina
diversity of citizenship case, no defendant may be a citizen of the same State as any plaintiff.

What is the+asis for federal court jurisdiction? (cheek all that apply)
Federal question L] Diversity of citizenship

Fill out the paragraphs in this section that apply to this case.
A. If the Basis for Jurisdiction Is a Federal Question

List the specific federal statutes, federal treaties, and/or provisions of the United States Constitution that
are at issue in this case.

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B. If the Basis for Turisdiction Is Diversity of Citizenship
ls The Plaintiff(s)
a. If the plaintiff is an individual

The plaintiff, ‘rans ft S$e/ Lone Lois / is acitizen of the
State of (name) EC

 

b. If the plaintiff is a corporation

The plaintiff, (ame) , is incorporated

under the laws of the State Of inane) ;

and has its principal place of business in the State of fname)

(If more than one plaintiff is named in the complaint, attach an additional page providing the
same information for each additional plaintiff)

 

2, The Defendant(s)
a. If the defendant is an individual ¢
& ae
The defendant, (name) CAS cAST IONS | Miles < . is acitizen of
the State of (name) (= es Or is a citizen of

(foreign nation)

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Ill.

IV.

b. If the defendant is a corporation
The defendant, mame) Kerc He lt AO Bn aig incorporated under
the laws of the State of (name) j , and has its

principal place of business in the State of (name) EL

and has its principal place of business in (name) C's Foles + Dei al {iS

([f more than one defendant is named in the complaint, attach an additional page providing the
same information for each additional defendant.)

Or is incorporated under the laws of (foreign nation) ;

The Amount in Controversy

o>)

The amount in controversy—the amount the plaintiff claims the defendant owes or the amount at
stake—is more than $75,000, not counting interest and costs of court, because (explain):

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Cee over ded VP Vike Dug Sexval paifeg ment Liv YS

Statement of Claim

Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
involved and what each defendant did that caused the plaintiff harm or violated the plaintiff's rights, including
the dates and places of that involvement or conduct. If more than one claim is asserted, number each claim and
write a short and plain statement of each claim in a separate paragraph. Attach additional pages if needed.

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employee, Mi le dies, wh le werk’ 45 ACK'S Falbs + Drinks.

Relief

State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include
the amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any
punitive or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or

punitive money damages.

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Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
requirements of Rule 11.

A.

For Parties Without an Attorney

I agree to provide the Clerk’s Office with any changes to my address where case—related papers may be
served. I understand that my failure to keep a current address on file with the Clerk’s Office may result
in the dismissal of my case.

Date of signing: 3/30) os

4
Signature of Plaintiff <a ——
Printed Name of Plaintiff LLY Lear { C
———- a

 

For Attorneys

Date of signing:

Signature of Attorney

Printed Name of Attorney

 

Bar Number

 

Name of Law Firm

 

Street Address
State and Zip Code

 

Telephone Number

E-mail Address

 

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